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                           Exhibit 17
          Case 1:22-cv-00219-WES-PAS Document 1-17 Filed 06/02/22 Page 2 of 2 PageID #: 67
                                                                                           Kristen Pierson



Report received: (#1925816) DMCA TAKEDOWN NOTICE for Copyright Infringement
(6A8A8806.jpg)
Cloudflare Trust & Safety <abuse@cloudflare.com>                                                                Thu, Nov 1, 2018 at 9:51 AM
Reply-To: Cloudflare Trust & Safety <abuse@cloudflare.com>
To: Kristen Pierson


   ##- Please type your reply above this line -##

   Your report (#1925816) has been received. Note -- When responding please make sure to keep #1925816 in the subject line.

   Thank you for your report.

   To expedite processing of your complaint, please submit your complaint through Cloudflare's abuse reporting web form available at
   https://www.cloudflare.com/abuse/

   Please be aware Cloudflare offers network service solutions, including a reverse proxy, pass-through security service and a content
   distribution network (CDN). Because Cloudflare is a reverse proxy, our IP addresses appear in whois and DNS records for websites
   using our services. Cloudflare is not a hosting provider, and we do not have access to our customers' content.

   Regards,
   Cloudflare Trust and Safety




                                                                             Zendesk


 [6LVK23-G92Z]
